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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

         Plaintiff,

vs.                                                            Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

         Defendants.

                 ORDER EXTENDING CASE MANAGEMENT DEADLINES

         This matter is before the Court following the status conference held November 10, 2021.

The Court extends the deadlines as follows:

      Deadline                                Current Date              New Date
      Remaining Limited Expert                November 1, 2021          January 14, 2022
      Disclosure
      Rebuttal Expert Disclosure              December 1, 2021          February 18, 2022
      Discovery deadline (for fact and        December 15, 2021         March 29, 2022
      expert discovery)
      Pretrial motion deadline                January 13, 2022          April 29, 2022
      Plaintiff’s Pretrial Order              April 14, 2022            To be set by
                                                                        presiding judge
      Defendants’ Pretrial Order              April 29, 2022            To be set by
                                                                        presiding judge




                                                     Honorable Steven C. Yarbrough
                                                     United States Magistrate Judge
